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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

                                                  :
 UNITED STATES OF AMERICA,                        :
                                                  :
                       v.                         :        ORDER
                                                  :
 GHENET MARU MESFUN and JOSEPH Y.                 :        Crim. No. 05-858 (WHW)
 MESFUN,                                          :
                                                  :
                               Defendants.        :
                                                  :


Walls, Senior District Judge

       It is on this 2nd day of December, 2009,

       ORDERED that the medical staff at FMC Carswell is PERMITTED TO PROCEED as

Dr. Judith Cherry has suggested in her October 6, 2009 report containing her proposed alternative

treatment plans.

       IT IS FURTHER ORDERED that the time associated with any proceedings related to the

defendants’ restoration to competency to stand trial be EXCLUDED, pursuant to 18 U.S.C.

§§ 3161(h)(1)(A), 3161(h)(1)(H), 3161(h)(4), 3161(h)(7), and 3161(h)(8)(A), from the

computation of time within which trial must commence.

                                                               s/William H. Walls
                                                               United States Senior District Judge
